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 7                             UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                  Case No. 2:16-CR-00305-KJD-VCF

12   v.                                                 ORDER

13   KAREEN ANDERSON,

14          Defendant.

15

16          Presently before the Court is Defendant’s Objection (#152) to Magistrate’s Orders (#148)

17   denying Defendant’s Motion for Temporary Release of Custody (#140); denying Defendant’s Ex

18   Parte Motion for Subpoena (#145); and denying Defendant’s Motion for Reconsideration (#144).

19   Plaintiff filed a response in opposition (#156). Objections to the magistrate judge’s order were filed

20   pursuant to Local Rule IB 3-1 of the Local Rules of Practice of the United States District Court for

21   the District of Nevada.

22          Defendant is required to demonstrate that the magistrate judge’s ruling is clearly erroneous or

23   contrary to law. The Court finds that the Magistrate’s Orders (#148) are neither clearly erroneous

24   nor contrary to law under Federal Rule of Civil Procedure 72(a). See 28 U.S.C. § 636(b)(1)(A).

25   This Court does not have a definite and firm conviction that a mistake has been made. See Weeks v.

26   Samsung Heavy Indus. Co. Ltd., 126 F.3d 926, 943 (7th Cir. 1997). First, Plaintiff failed to carry his
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 1   burden in establishing that his release was necessary as a compelling reason. This is not to say that a

 2   custody hearing involving Defendant’s daughter is not compelling. However, Defendant’s attendance

 3   at that hearing, or his “temporary release”, was unlikely to achieve the ends sought by Defendant and

 4   failed to satisfy the requirements of the statute that compelled his detention. Second, the Court agrees

 5   that issuance of subpoenas would not have aided Defendant in obtaining his temporary release.

 6   Defendant is not barred from applying for the issuance of subpoena’s that would aid his defense at

 7   trial. Finally, despite Defendant’s assertion that a video exists, he has failed to demonstrate the

 8   evidence for his continued belief in the face of the Government’s response and the Court’s rulings on

 9   this issue.

10           Accordingly, IT IS HEREBY ORDERED that Defendants’ Objection (#152) is DENIED;

11           IT IS FURTHER ORDERED that Magistrate Judge Cam Ferenbach’s Order (#148) is

12   AFFIRMED;

13           IT IS FURTHER ORDERED that Defendant’s Motion Invoking LR IA 7-1(a) (#170) is

14   DENIED as moot.

15           DATED this 31st day of October 2017.

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                                                    Kent J. Dawson
19                                                  United States District Judge

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